 Case 4:23-cv-04796             Document 27-1         Filed on 04/10/25 in TXSD          Page 1 of 15



                          RECRUITMENT SERVICE AGREEMENT
 The following Recruitment Company Service Partner Agreement                           is entered into on
 October 21, 2021 between:

 Visa Solutions Healthcare, LLC with its headquarters located at 25227 Grogans Mill Rd, Suite 220,
 The Woodlands, TX 77380                                 Placing Company,                   Kelly
 Brioso.
                                              and
Staffactory LLC. with its headquarters located at 5901 W. Century Blvd., Suite 750 Los Angeles,
CA 90045                            Recruiting Company                     Chiraz Kelly.

 Visa Solutions Healthcare and Recruiting Company
 within this Agreement.

 Section 1. Subject of the Agreement & Overview

 1.1. Recruiting Company is in the business of the recruitment of foreign educated healthcare
                                                                                     ) and is
     licensed, certified, or authorized by law to perform this service.

 1.2. Visa Solutions Healthcare is in the business of placing qualified individuals for the purpose
     of long-term employment in healthcare facilities throughout the United States and its territories.

 1.3.       The Parties are entering into this Agreement for the purpose of recruitment of healthcare
        professionals for employment in the United States and its territories.

 1.4.      Recruiting Company hereby agrees to perform Recruitment Services (hereinafter referred to
                                                        ed in this Agreement, for Visa Solutions
        Healthcare.

 1.5.      The requirements of the specific Services will be set forth in a written Order presented by
        Visa Solutions Healthcare and accepted by the Recruiting Company. A template of this Order is
        incorporated as Appendix A of                          tment

 1.6.       Recruiting Company locates                            CP as defined in Section 2, performs
        interviews and undertakes an initial screening process according to the requirements set forth in
        the Recruitment Order. For the HCPs that pass the screening process, Recruiting Company then
        gathers or completes documentation required by Visa Solutions Healthcare and sends that HCP
        required documentation to Visa Solutions Healthcare through electronic means.

 1.7.      Visa Solutions Healthcare reviews the submitted documentation to be sure it is both
        compliant and complete with respect to the Recruitment Order and, if accepted, Visa Solutions
        Healthcare attempts to place such HCP with a US Employer. If the HCP is approved by a US
        Employer, the following steps will occur: (i) Employment Agreement between US Employer
        and HCP will be provided and (ii) a Service Agreement between Visa Solutions Healthcare and
        HCP will be provided.

 1.8.      During the next 45-day period, Recruiting Company is required to provide all additional
        documentation required                                                                   .
 Case 4:23-cv-04796           Document 27-1         Filed on 04/10/25 in TXSD         Page 2 of 15



       Without the documents requested, the immigration process cannot proceed, and Visa Solutions
       Healthcare will have the option to cancel or temporarily suspend the process for such HCP. If
       Visa Solutions Healthcare elects to cancel or temporarily suspend the process for any HCP,
       Recruiting Company is required to either refund or extend a Credit Note to the Visa Solutions
       Healthcare (at the Visa Solutions Healthcare
       Recruitment Company in connection with that particular HCP.

 Section 2. Performance by the Parties

2.1. Recruiting Company hereby agrees to search for and recruit qualified individuals for
    positions corresponding to Visa Solutions Healthcare s requirements for HCPs according to the
    instructions given by Visa Solutions Healthcare satisfying the HCP
    conveyed to Recruiting Company in each Recruitment Order in particular.

2.2. Recruiting Company hereby agrees to collect and submit all the required HCP
    documentation to Visa Solutions Healthcare in a timely manner and according to the instructions
    provided in the Appendix C to th                 Required

2.3. Visa Solutions Healthcare has the right to decline any HCP presented by the Recruiting
    Company. Visa Solutions Healthcare shall notify the Recruiting Company within fifteen (15)
    business days if an HCP has been accepted.

Section 3. Rejection of HCP

3.1  If Visa Solutions healthcare rejects an HCP presented by Recruiting Company, Recruiting
Company shall receive no fee, except as provided for in Section 3.2.

3.2     If Visa Solutions Healthcare moves forward in the immigration process within twelve (12)
months of the HCP being presented to the Visa Solutions Healthcare, and it reaches the point of
conclusion with any of the contracts or agreements enumerated above, Visa Solutions Healthcare
will inform Recruiting Company about the fact of concluding any of such agreements and will pay
the remuneration set forth in Section 4 of this Agreement.

Section 4. Process and Compensation

4.1      Recruiting Company shall be compensated as shown on the attached Appendix B Fee
      Schedule

4.2       Recruiting Company shall locate and interview HCPs and undertake an initial screening
      process according to the requirements set forth in the Recruitment Order. For every HCPs
      that pass the screening process Recruiting Company shall gather all documentation
      required by Visa Solutions Healthcare and shall send such HCP
      to Visa Solutions Healthcare through electronic means according to the instructions
      provided in Appendix C                                 .

4.3     If accepted, Visa Solutions Healthcare attempts to place such HCP with a US
      Employer.

4.4       If approved by a US Employer, the Recruiting Company will coordinate the execution
      of any and all documents necessary.
 Case 4:23-cv-04796            Document 27-1         Filed on 04/10/25 in TXSD            Page 3 of 15




4.5      Visa Solutions Healthcare shall coordinate the execution of employment agreements
      and offer letters.

Section 5. Guarantee

5.1       In the event an HCP begins employment with a US Employer and the HCP resigns or
      is terminated within ninety (90) days after commencement of employment, Recruiting
      Company shall present Visa Solutions Healthcare a new HCP free of charge and in
      compliance with                              requirements as described on the Recruitment
      Order. In the event Recruiting Company is unable to provide a new HCP candidate within
      thirty (30) days, Recruiting Company shall issue a credit note to Visa Solutions Healthcare
      equivalent to the amount paid by visa Solutions Healthcare to Recruitment Company for
      the HCP who resigned or was terminated during the guarantee period. This provision does
                                                                                     ted from the


Section 6. Confidentiality & Non-Compete/Non-Solicitation

6.1     Visa Solutions Healthcare and Recruiting Company acknowledge that, as a result of
    this Agreement, it will occupy a position of mutual trust and confidence and become
    familiar with the following, any and all of which constitute confidential information of
    Visa Solutions Healthcare and Recruiting company
    Information.
6.2 Visa Solutions Healthcare will give Recruiting company the exclusivity to locate, screen

      any third-party Recruiting companies in all Africa Continent expect to (South Africa and
      Zimbabwe) and in all European continent except to Portugal, The United Kingdom and
      Poland. for the duration of this agreement.
6.3
         6.3.1 Visa Solutions Healthcare will not, directly or indirectly, either for itself or any
         other Person, (A) induce or attempt to induce any employee of Recruiting Company to
         leave the employ of Recruiting Company, (B) in any way interfere with the relationship
         between Recruiting Company and any employee Recruiting Company, (C) employ, or
         otherwise engage as an employee, independent contractor, or otherwise, any person
         who has been employed or retained by Recruiting Company during the preceding
         twelve months, (D) induce or attempt to induce any business partner, supplier, licensee,
         or business relation of Recruiting Partner to cease doing business with Recruiting
         Company, or in any way interfere with the relationship between any partner, supplier,
         licensee, or business relation of Recruiting Company, or (E) employ, hire or engage the
         services of any Person that provides services to or on behalf of Recruiting Company
         that was introduced to Visa Solutions by Recruiting Company.

         6.3.2 Visa Solutions will not, directly or indirectly, either for itself or any other
         Person, partners solicit the business of any Person known to Recruiting Company to be
         a customer or business partner of Recruiting Partner.

         6.3.3 In the event of a breach by Visa Solutions Healthcare of any covenant set forth
         in Section 5 of this Agreement, the term of such covenant will be extended by the period
         of the duration of such breach.
 Case 4:23-cv-04796            Document 27-1         Filed on 04/10/25 in TXSD            Page 4 of 15




         6.3.4 Visa Solutions Healthcare will not, at any time during disparage Recruiting
         Company, or any of its managers, members, shareholders, directors, officers,
         employees, or agents.

6.4      If Visa Solutions breaches the covenants set forth in Section 5 of this Agreement,
      Recruiting company will be entitled to the following remedies:

         6.4.1   Damages from Visa Solutions

         6.4.2 To offset against all obligations to Visa Solutions Healthcare all amounts which
         may be due to Recruiting Company; and

         6.4.3 In addition to its right to damages and any other rights it may have, to obtain
         injunctive or other equitable relief to restrain any breach or threatened breach or
         otherwise to specifically enforce the provisions of Section 5 of this Agreement, it being
         agreed that money damages alone would be inadequate to compensate Recruiting
         Company and it would be an inadequate remedy for such breach.

         6.4.4 The rights and remedies of the Parties to this Agreement are cumulative and not
         alternative.

         6.4.5 Recruiting Company shall not be entitled to exercise any remedies under this
         Section 5 unless and until Recruiting Company has provided written notice to Visa
         Solutions of the alleged breach and Visa Solutions has failed to (i) to cure the alleged
         breach, if such breach is capable of cure, within one week after receipt of written notice
         from Recruiting Company to Visa Solutions Healthcare and (ii) cure such breach as
         soon as practicable thereafter.

6.5       Confidential Information includes: (i) any and all trade secrets concerning the business
      and affairs of Visa Solutions Healthcare, agreements, contracts, data, know-how,
      compositions, processes, designs, samples, inventions and ideas, past, current, and planned
      research and development, current and planned recruiting methods and processes,
      methodologies, customer lists, current and anticipated customer requirements, price lists,
      market studies, and business plans, of Visa Solutions Healthcare and any other information,
      however documented, of Visa Solutions Healthcare that is a trade secret under Texas law;
      (ii) any and all information concerning the business and affairs of Visa Solutions
      Healthcare (which includes historical financial statements, financial projections and
      budgets, historical and projected sales, capital spending budgets and plans, the names and
      backgrounds of key personnel, personnel training and techniques and materials), however
      documented; and (iii) any and all notes, analysis, compilations, studies, summaries, and
      other material prepared by or for Visa Solutions Healthcare containing or based, in whole
      or in part, on any information included in the foregoing.

6.6       Confidential Information also includes how the business of Visa Solutions Healthcare
      is conducted, and how its services are marketed and the other parties it does business with,
      throughout the contiguous 48 states of the continental United States (the Territory.

6.7      Visa Solutions Healthcare competes with other businesses that are or could be located
      in any part of such Territory and Visa Solutions Healthcare has required that Recruiting
 Case 4:23-cv-04796            Document 27-1         Filed on 04/10/25 in TXSD            Page 5 of 15



      Company make the covenants set forth in this Section 5 as a condition Visa Solutions
      Healthcare doing business with Recruiting Company.

6.8       The provisions of Section 5 of this Agreement are reasonable and necessary to protect
      and preserve Visa Solutions Healthcare s business and Visa Solutions Healthcare would
      be irreparably damaged if Recruiting Company were to breach the covenants set forth in
      Section 5 of this Agreement.

6.9       Recruiting Company acknowledges and agrees that all Confidential Information known
      or obtained by Recruiting Company, whether before or after the date hereof, is the property
      of Visa Solutions Healthcare. Therefore, Recruiting Company agrees that Recruiting
      Company will not, at any time, disclose to any unauthorized Persons or use for its own
      account or for the benefit of any third party any Confidential Information, whether
      Recruiting Company has such information in Recruiting Company
      in writing or other physical form, without Visa Solutions Healthcare s prior written
      consent, unless and to the extent that the Confidential Information is or becomes generally
      known to and available for use by the public other than as a result of Recruiting Company
      fault or the fault of any other Person bound by a duty of confidentiality to Visa Solutions
      Healthcare.

6.10         As an inducement for Visa Solutions Healthcare to enter into the Recruitment
    Partner Services Agreement, Recruiting Company agrees that for the period of the term of
    the Recruitment Partner Services Agreement.
        6.10.1 Recruiting Company will not, directly or indirectly, either for itself or any other
        Person, (A) induce or attempt to induce any employee of Visa Solutions Healthcare to
        leave the employ of Visa Solutions Healthcare, (B) in any way interfere with the
        relationship between Visa Solutions Healthcare and any employee of Visa Solutions
        Healthcare, (C) employ, or otherwise engage as an employee, independent contractor,
        or otherwise, any person who has been employed by Visa Solutions Healthcare during
        the term of the agreement, (D) induce or attempt to induce any customer, supplier,
        licensee, or business relation of Visa Solutions Healthcare to cease doing business with
        Visa Solutions Healthcare, or in any way interfere with the relationship between any
        customer, supplier, licensee, or business relation of Visa Solutions Healthcare, or (E)
        employ, hire or engage the services of any Person that provides services to or on behalf
        of Visa Solutions Healthcare that was introduced to Recruiting Company by Visa
        Solutions Healthcare.

         6.10.2 Recruiting Company will not, directly or indirectly, either for itself or any other
         Person, solicit the business of any Person known to Recruiting Company to be a
         customer of Visa Solution Healthcare.

         6.10.3 In the event of a breach by Recruiting Company of any covenant set forth in
         Section 5 of this Agreement, the term of such covenant will be extended by the period
         of the duration of such breach.

         6.10.4 Recruiting Company will not, at any time during the agreement, disparage Visa
         Solutions Healthcare, or any of its managers, members, shareholders, directors,
         officers, employees, or agents.
 Case 4:23-cv-04796           Document 27-1          Filed on 04/10/25 in TXSD           Page 6 of 15



6.11      If Recruiting Company breaches the covenants set forth in Section 5 of this
    Agreement, Visa Solutions Healthcare will be entitled to the following remedies:

         6.11.1 Damages from Recruiting Company

         6.11.2 To offset against all obligations to Recruiting Company any and all amounts
         which may be due from Visa Solutions Healthcare; and

         6.11.3 In addition to its right to damages and any other rights it may have, to obtain
         injunctive or other equitable relief to restrain any breach or threatened breach or
         otherwise to specifically enforce the provisions of Section 5 of this Agreement, it being
         agreed that money damages alone would be inadequate to compensate Visa Solutions
         Healthcare and it would be an inadequate remedy for such breach.

         6.11.4 The rights and remedies of the Parties to this Agreement are cumulative and not
         alternative.

         6.11.5 Visa Solutions Healthcare shall not be entitled to exercise any remedies under
         this Section 5 unless and until Visa Solution Healthcare has provided written notice to
         Recruiting Company of the alleged breach and Recruiting Company has failed to (i) to
         cure the alleged breach, if such breach is capable of cure, within one week after receipt
         of written notice from Visa Solutions Healthcare to Recruiting Company and (ii) cure
         such breach as soon as practicable thereafter.

Section 7. Other Provisions

7.1       Logo; Intellectual Property; Marketing. Recruiting Company shall obtain written
      authorization from Visa Solutions Healthcare if Recruiting Company wishes to use Visa
      Solutions Healthcare name and logo in reference letters or marketing materials.

7.2       Successors and Assigns. This Agreement will be binding upon Visa Solutions
      Healthcare and Recruiting Company and will inure to the benefit of the Parties and their
      affiliates, successors, and assigns and legal representatives.

7.3       Waiver. The rights and remedies of the Parties to this Agreement are cumulative and
      not alternative.

7.3.1       Neither the failure nor any delay by any Party in exercising any right, power, or
         privilege under this Agreement will operate as a waiver of such right, power, or
         privilege, and no single or partial exercise of any such right, power, or privilege will
         preclude any other or further exercise of such right, power, or privilege or the exercise
         of any other right, power, or privilege.

7.3.2       To the maximum extent permitted by applicable law, (a) no claim or right arising
         out of this Agreement can be discharged by one Party, in whole or in part, by a waiver
         or renunciation of the claim or right unless in writing signed by the other Party; (b) no
         waiver that may be given by a Party will be applicable except in the specific instance
         for which it is given; and (c) no notice to or demand on one Party will be deemed to be
         a waiver of any obligation of such Party or of the right of the Party giving such notice
         or demand to take further action without notice or demand as provided in this
 Case 4:23-cv-04796             Document 27-1          Filed on 04/10/25 in TXSD            Page 7 of 15



         Agreement.

7.4      Section Headings; Construction. The headings of Sections in this Agreement are
      provided for convenience only and will not affect its construction or interpretation. All

      Agreement unless otherwise specified. All words used in this Agreement unless otherwise
      specified. All words used in this Agreement will be construed to be of such gender or
      number as the circumstances require. Unless otherwise expressly provided, the word


7.5       Language; Mutual Understanding. This Agreement was originally drafted in American
      English, and all terms and meanings are to be interpreted by the rules of American English.
      Any translation of this Agreement may not accurately define or represent each term in this
      Agreement. It is recommended that each Party engage counsel who can explain each term.
      By executing this document, each Party acknowledges and represents that they understand
      the terms of this Agreement and are entering into the Agreement after being given the
      opportunity to seek clarification by their own counsel.

7.6       Certain Terms Defined
      individual, corporation, partnership, proprietorship, limited liability company, trust,
      association, estate, governmental entity, non-profit entity, or any other entity of any nature.

Section 8. Duration and termination of the Agreement

8.1       Term. This Agreement will commence on the Effective Date and will continue for an
      indefinite period until terminated in writing by either Party. For clarity, any writing,
      including an email, is sufficient to terminate this Agreement.

8.2       Termination for Material Breach. Either Party may terminate this Agreement upon a
      material breach by the other of any of the terms of this Agreement; provided, however, the
      non-breaching Party shall first notify the breaching Party in writing of the reason for
      termination and provide the breaching Party thirty (30) days to cure the breach. If, upon
      the expiration of the thirty (30) day-period, the breaching Party has not cured the breach to
      the reasonable satisfaction of the non-breaching Party, the non-breaching Party may
      immediately terminate this Agreement.

8.3       Termination for Uncurable Cause or Violation of Law by a Party. Notwithstanding
      Section 8.2, it is acknowledged and agreed by the parties that some breaches cannot be
      cured, including but not limited to the violation of law by a Party, independent of this
      Agreement. In the event of such breach, either party may terminate this Agreement for
      cause on sixty (60) days prior written notice to the other Party, unless the circumstances
      require an earlier, or immediate, termination. In this case, the terminating party shall
      provide sufficient documentation of any such cause to the other Party, the circumstances
      requiring the immediate termination, and each Party shall cooperate with the other to wind
      down any remaining business, payments, or other matters as required by this Agreement.

8.4       Termination Due to Change in Law. This Agreement is intended to comply with
      existing State, Federal and International laws related to recruiting of professionals for
      placement in the United States of America and the provision of services as described
      herein. However, the Parties acknowledge that the existing law and regulations may change
 Case 4:23-cv-04796             Document 27-1          Filed on 04/10/25 in TXSD            Page 8 of 15



      and that the courts, or State or Federal agencies with appropriate jurisdiction, may change
      their interpretation of existing law. Upon the enactment or amendment of any law or
      regulation, or upon the issuance of any judicial or interpretive rule or any existing law or
      regulations, that in the opinion of               counsel renders this Agreement illegal or
      materially changes the obligations of the Parties, the Parties shall use their best efforts
      during a thirty (30) day period thereafter to mutually agree to such amendments to the
      Agreement as to permit its valid and legal continuation. If after such thirty (30) day period,
      the Parties are unable to agree to amend this Agreement, this Agreement shall
      automatically terminate. In the event of such termination, each Party shall use their best
      efforts to wind down any ongoing transactions between the Parties to the extent that it is
      permissible by law, including the payment of services rendered prior to the
      acknowledgement by either party that the Agreement is out of compliance with the law.

8.5      Termination Without Cause. Either Party may terminate this Agreement in accordance
      with the following:

8.5.1    If there are no outstanding matters, and no recruit placements are expected within the
         following six (6) month period
         notice.
8.5.2    If there are outstanding matters, including recruit placements expected within the
         following six (6) month period, either party may notify the other with at least sixty (60)
                                Agreement shall terminate at the end of the completion of the
         outstanding matters.
8.5.3    In the event either party declares bankruptcy or is unable to perform under the
         Agreement.

8.6 Effect of Termination. Upon termination of this Agreement, as provided herein, neither
    Party shall have any further obligation hereunder except for (i) obligations accruing prior
    to the date of termination, and (ii) obligations, promises, or covenants contained herein
    which are expressly made to extend beyond the Term of this Agreement.

Section 9. Dispute Settlement

9.1       Should a dispute arise between the parties in connection with this Agreement, the
      Parties agree to confer within ten (10) business days in a good faith effort to resolve the
      dispute before initiating further legal actions. In the event the Parties are unable to resolve
      such dispute within thirty (30) days after initiating attempts to resolve such dispute, the
      parties shall proceed as described below in this Section 9.

9.2       In the event such dispute is in connection with performance of this Agreement, such
      dispute arises during the Term, and the parties are unable to resolve such dispute, the parties
      agree to a non-binding mediation with an attorney mediator within thirty (30) days after it
      becomes apparent that the parties are unable to resolve the dispute.

9.3      In the event such dispute arises after the Term of this Agreement, whether by
      Termination or expiration, the parties agree to non-binding mediation as described below


9.4       Upon the demand of any Party, any Dispute (as defined below) shall attempt to be
      resolved by mediation in accordance with the terms of this Mediation Program.
 Case 4:23-cv-04796             Document 27-1          Filed on 04/10/25 in TXSD             Page 9 of 15




9.5                                                                                      y kind (e.g.,
      whether in contract or in tort, statutory or common law, legal or equitable, or otherwise)
      now existing or hereafter arising between the parties in any way arising out of, pertaining
      to or in connection with: all past, present, or future business relationships or other
      transactions, contracts or agreements of any kind whatsoever between the parties; any past,
      present or future incidents, omissions, acts, errors, practices, or occurrences causing injury
      to either party whereby the other party or its owners, officers, assigns, agents, employees
      or representatives may be liable, in whole or in part; or any other aspect of the past, present,
      or future relationships of the parties including any agency, independent contractor or
      employment relationsh


9.6       Any party who fails or refuses to submit to mediation following a lawful demand by
      the opposing party shall bear all costs and expenses incurred by the opposing party in
      compelling mediation of any Dispute.

9.7       All Disputes between the Parties submitted to mediation shall be in accordance with
      the following requirements: (1) mediation shall be located in Harris County, Texas; (2) the
      fee for the mediation shall be borne equally by the parties; (3) the full mediation process
      shall be concluded within one hundred twenty (120) days from the date of the raising of a
      Dispute; (4) the parties are prohibited from bringing a class or collective action against one
      another for any Dispute arising pursuant to this Agreement; and (5) mediation shall consist
      of no more than two (2) days.

9.8       No Waiver; Preservation of Remedies; Multiple Parties. No provision of, nor the
      exercise of any rights under, this Mediation Program shall limit the right of any party,
      during any Dispute, to seek, use, and employ ancillary or preliminary remedies, judicial or

      assets, or business. Any such action shall not be deemed an election of remedies. Such
      rights shall include, without limitation, rights and remedies relating to or obtaining
      provision or ancillary remedies such as injunctive relief, sequestration, attachment,
      garnishment, or the appointment of a receiver from a court having jurisdiction. Such rights
      may be exercised at any time except to the extent such action is contrary to a final award
      or decision in any judicial action or arbitration. The institution and maintenance of an
      action for judicial relief or pursuit of provisional or ancillary remedies shall not constitute
      a waiver of the right of any party, including the plaintiff, to submit the Dispute to
      mediation, nor render inapplicable the compulsory mediation provisions hereof.

9.9       Any mediator selected shall be required to be an attorney licensed to practice law in
      the State of Texas and shall be required to be experienced and knowledgeable in the
      substantive laws applicable to the subject matter of the Dispute.

9.10     The provisions of this Mediation Program shall survive any termination, amendment,
    or expiration of the Documents or the Relationship, unless the parties otherwise expressly
    agree in writing.

9.11     Each party agrees to keep all Disputes and mediation proceedings strictly confidential,
    except for disclosures of information required in the ordinary course of business of the
    parties or by applicable law or regulation.
Case 4:23-cv-04796           Document 27-1          Filed on 04/10/25 in TXSD           Page 10 of 15



9.12     In the event either party resorts to legal action to enforce the terms and provisions of
    this Agreement, the prevailing party shall be entitled to recover the costs of such action so


9.12.1 Both Parties state that in case any disputes on the contents of the provisions of the
       present Agreement or on the execution of the Agreement should arise, the Parties will
       first of all try to settle the dispute amicably and out of court, especially by initiating
       and holding proper negotiations in good faith. If the Parties fail to agree on the manner
       of settling the dispute, the Parties state that any disputes in the matters of the present
       Agreement shall be settled as provided in Section 10 below.

Section 10. Governing Law; Waiver of Jury Trial

10.1THIS AGREEMENT SHALL BE GOVERNED BY, INTERPRETED AND
    CONSTRUED IN ACCORDANCE WITH THE DOMESTIC LAWS OF THE STATE
    OF TEXAS, UNITED STATES, WITHOUT GIVING EFFECT TO ANY CHOICE OF
    LAW OR CONFLICTING PROVISION OR RULE (WHETHER OF THE STATE OF
    TEXAS OR ANY OTHER JURISDICTION) THAT WOULD CAUSE THE LAWS OF
    ANY JURISDICTION OTHER THAN THE STATE OF TEXAS TO BE APPLIED. IN
    FURTHERANCE OF THE FOREGOING, THE DOMESTIC LAWS OF THE STATE
    OF TEXAS (INCLUDING THE ACT) SHALL CONTROL THE INTERPRETATION
    AND CONSTRUCTION OF THIS AGREEMENT, EVEN IF UNDER SUCH OTHER
                   CHOICE OF LAW OR CONFLICT OF LAW ANALYSIS, THE
    SUBSTANTIVE LAW OF ANOTHER JURISDICTION ORDINARILY WOULD
    APPLY.

10.2 Expenses. Each of the Parties will bear its own costs and expenses including legal fees
    and expenses) incurred in connection with preparation for his Agreement.

Section 11. Jurisdiction and Venue.

11.1 Each of the Parties hereto hereby irrevocably and unconditionally submits, for himself,
    herself or itself and his, her or its Assets, to the exclusive jurisdiction of any Texas state
    court or federal court of the United States of America sitting in Harris County, Texas, and
    any appellate court from any such Texas state court or federal court, in any proceeding
    arising out of, connected with, related to or incidental to this Agreement or the transactions
    contemplated hereby, or for recognition or enforcement of any judgment arising
    therefrom, connected thereto, related thereto or incidental thereto, and each of the Parties
    hereto hereby irrevocably and unconditionally agrees that all claims with respect to any
    such proceeding may be heard and determined in any such Texas state court or, to the
    extent permitted by applicable Law, in any such federal court. Each of the Parties hereto
    hereby agrees that a final judgment in any such proceeding shall be conclusive and may
    be enforced in any other jurisdiction by a proceeding on the judgment or in any other
    manner provided by applicable Law.

11.2 Each of the Parties hereto hereby irrevocably and unconditionally waives, to the fullest
    extent he, she or it legally and effectively may do so, any objection that he, she or it now
    or hereafter may have to the laying of venue of any proceeding arising out of, connected
    with, related to or incidental to this Agreement or the transactions contemplated hereby in
    any Texas state court or federal court of the United States of America sitting in Harris
Case 4:23-cv-04796          Document 27-1          Filed on 04/10/25 in TXSD          Page 11 of 15



    County, Texas, or any appellate court from any such Texas state court or federal court.
    Each of the Parties hereto hereby irrevocably and unconditionally waives, to the fullest
    extent he, she or it legally and effectively may do so, the claim or defense of an
    inconvenient forum to the maintenance of such proceeding in any such Texas state court
    or federal court.

11.3 Each of the Parties hereto hereby agrees that the mailing by registered or certified mail,
    return receipt requested, postage prepaid, of any process required by any such Texas state
    court or federal court of the United States of America sitting in Harris County, Texas, or
    any appellate court from any such Texas state court or federal court, shall constitute valid
    and lawful service of process against such Party, without the necessity for service of
    process by any other means provided by applicable Law.

Section 12. Notifications, declarations, and notices

12.1 Any documents and declarations, unless stated otherwise in the present Agreement,
    shall be delivered to the other Party in a written form and signed by the authorized
    representatives of both Parties.

12.2 The documents can be delivered in a registered mail, by courier service or by e-mail if
    confirmed with a registered letter, and should be sent to the following addresses:

    Visa Solutions Healthcare
    25227 Grogans Mill Rd, Suite 220
    The Woodlands, TX 77380
    Attn: Kelly Brioso

    Recruiting Company:
    Staffactory, LLC
    5901 Century Blvd., Suite 750
    Los Angeles, CA 90045
    Attn: Chiraz Kelly

    Any modifications in the addresses above will become effective upon reception by the
    other Party of the written notice from the modifying Party.

Section 13. Entire Agreement; Assignment

13.1 This Agreement shall be binding upon and inure to the benefit of the Parties named
    herein and their respective successors and permitted assigns. This Agreement constitutes
    the entire agreement among the Parties and supersedes any prior understandings,
    agreements, or representations by or among the Parties, written or oral, to the extent
    they have related in any way to the subject matter hereof.

13.2 Recruiting Company cannot assign its rights and obligations arising under this
    Agreement to the third parties without Visa Solutions Healthcar prior written consent.

13.3 Recruiting Company can delegate actions related to the performing of the Service to
    the third Parties, yet in such a case Recruiting Company will be liable for the actions and
    failures of the third parties as if they were its own.
Case 4:23-cv-04796            Document 27-1            Filed on 04/10/25 in TXSD      Page 12 of 15




13.4 Any business structuring event which may trigger a change in tax identification
    number, ownership, control of, or management of Recruiting Company, requires a sixty
    (60) day notification to Visa Solutions Healthcare of any such proposed change.

Section 14. Severability; Modifications

14.1 In the event any one or more of the provisions contained in this Agreement shall for
    any reason be held to be invalid, illegal, or unenforceable in any respect, such invalidity,
    illegality, or unenforceability shall not affect any other provision hereof, and this
    Agreement shall be construed as if such invalid, illegal, or unenforceable provision had
    never been contained herein.

14.2 Any changes or modifications to the present Agreement must be in writing and
    executed by the Parties. The Parties agree that if any part of the Agreement becomes null
    and void or otherwise legally defective, the remaining parts of the Agreement shall remain
    in force, unless keeping the remaining parts of the Agreement without the void or defective
    parts loses economic sense for any of the Parties.

14.3 In the case of the provisions considered to be void or impossible to execute, the Parties
    will engage in negotiations conducted in good faith that aim at replacing the void or
    defective provisions with alternative provisions that will be considered obliging and
    possible to execute and will reflect the initial intentions of the Parties.

Section 15. Versions and copies

15.1 The present Agreement was drafted in two identical copies, one for each Party. This
    Agreement may be executed in one or more counterparts, each of which shall be deemed
    an original but all of which together will constitute one and the same instrument.

Section 16. Entry into force

The present Agreement enters into force on the date of its signing.

        Staffactory LLC. .

        By: _______________________
                  Chiraz Kelly
        Title: _____________________
                 President



        Date: _____________________
               12/17/2021



Accepted:
      Visa Solutions Healthcare, LLC

        By: _______________________
               Kelly Brioso

        Title: Vice President International Healthcare
        Date: ____________________
Case 4:23-cv-04796           Document 27-1         Filed on 04/10/25 in TXSD        Page 13 of 15




                                           Appendix A
                                        Recruitment Order

                       Recruitment Order Form from Visa Solutions Healthcare

Type of recruit requested:     Registered Nurse.

Required experience:           Minimum 1 year within specialty most recently employed.

Required license: NCLEX and Visa Screen certification

Passage of IELTS or TOEFL

Other Requirements, including skills or required abilities of recruit:

Job Descriptions to Supplied for each specialty, dependent on client location and needs.


Agreed:

Visa Solutions Healthcare, LLC.

Signature: __________________________

Title: ______________________________


Recruiting Company

Staffactory LLC.


Signature: __________________________

Title: ______________________________
             President
Case 4:23-cv-04796          Document 27-1        Filed on 04/10/25 in TXSD          Page 14 of 15



                                          Appendix B
                                          Fee Schedule

In full consideration for the performance of the Services provided hereunder, Recruiting Company
shall receive                                             HCP       :


Registered Nurses from local country with Fully Executed Employment Agreement between the US
Employer and the HCP:                                                       $4750.00 USD


The Recruiting Company shall receive portions of the HCP fee as per the following schedule:


B.1. Twenty-five percent (25%) of the HCP fee is payable with a fully executed employment
agreement between the US Employer and the HCP. The Recruiting Company will invoice Visa
Solutions Healthcare. Payment terms of 30 business days. Send to: accounting@visasolutions.com
and cc: Kelly Brioso k.brioso@visasolutionshc.com


B.2.    After Recruiting Company has submitted all documentation to Visa Solutions Healthcare as
                                                         the I-140 immigrant petition can be prepared
and filed with USCIS. After the receipt notice is received; fifty percent (50%) of the HCP fee is
payable to the Recruiting Company. The Recruiting Company will invoice Visa Solutions
Healthcare. Payment terms of 30 business days. Send to: accounting@visasolutions.com and cc:
Kelly Brioso k.brioso@visasolutionshc.com


B.3. The remaining twenty-five percent (25%) of the HCP Fee will be paid to Recruiting
Company upon the commencement of
                         The Recruiting Company will invoice Visa Solutions Healthcare. Payment
terms of 30 business days. Send to: accounting@visasolutions.com and cc: Kelly Brioso
k.brioso@visasolutionshc.com
Case 4:23-cv-04796          Document 27-1         Filed on 04/10/25 in TXSD         Page 15 of 15




                                         Appendix C
                                   Required Documentation

  Visa Solutions Healthcare requires that the following information be provided for each accepted
                            HCP recruit and family* when applicable:

       Visa Solutions Healthcare Document Checklist with Submission
                                                                              RN    RN
                                                                              with  without
                               Documents                                      NCLEX NCLEX
 Visa Solutions Healthcare formatted resume                                     X           X
 Copy of current international nursing license                                  X           X
 Copy of Nursing Diplomas/Degrees                                               X           X
 Copy of High School Diploma                                                    X           X
 Copy of Nursing Transcripts                                                    X           X
 Copy of any US State license held                                              X           X
 Employment Certificate(s)                                                      X           X
                                                                                X           X
 Copy of Visascreen Certification (if applicable)                               X           X
 Copy of CGFNS Certificate if applicable                                        X           X
 Copy of CGFNS CES Report (if applicable - not all Boards will have a CES)      *           *
 Copy of IELTS Results                                                          X           X
 Copy of NCLEX Candidate Report or Pass Letter                                  X
 Copy of Birth Certificate for RN                                               X           X
 Copy of entire passport for RN                                                 X           X
                                                                          -
 for all marriages                                                              *           *
 Copy of birth certificate - Family                                             *           *
 Copy of Passport - Family                                                      *           *


*If Applicable*
